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                                                           The Honorable Michelle L. Peterson
1                                                            Noted for Friday, October 7, 2022
                                          Set for Oral Argument on October 18, 2022, 1:00 PM
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                         THE UNITED STATES DISTRICT COURT
7                    FOR THE WESTERN DISTRICT OF WASHINGTON
                                    AT SEATTLE
8

9
     NANNETTE BASA, an individual,
10                                                    No. 2:21-cv-00754-MLP
                        Plaintiff,
11                                                    REPLY ON MOTION FOR
           v.
                                                      SANCTIONS FOR SPOLIATION OF
12                                                    EVIDENCE
     BRAND SHARED SERVICES, LLC, a
13   Delaware corporation,

14                     Defendant.                     NOTED FOR CONSIDERATION:
                                                         Friday, October 7, 2022
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                                                                   2200 Sixth Avenue
      (No. 2:21-cv-00754)                                          Seattle, WA 98121
                                                                    (206) 340-4856
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1                                         I.       ARGUMENT IN REPLY

2             Defendant Brand Shared Services LLC (“Brand”) admits that it did not send a timely

3    preservation notice to key witnesses and did not preserve Microsoft Teams messages, text

4    messages, or an important supervisory file. To avoid sanctions, Brand argues that the evidence

5    would have supported its case (which begs the question of why Brand did not preserve it).

6    Further, Brand asks this Court to give the benefit of the doubt to Brand that: (a) no relevant

7    evidence was lost; and (b) that any evidence would have supported Brand’s theories of the case.

8    That argument is not supported by the facts or the law, as explained below.
9             This Motion related to spoliation of: (1) a paper supervisory file about Plaintiff kept by

10   her manager; (2) Microsoft Teams messages; and (3) text messages. Each is discussed below.

11   A.       Rod Broschinsky’s Supervisory File on Nannette Basa.

12            Brand does not assert that it preserved or produce Broschinsky’s supervisory file before

13   his deposition in September 2022, despite a clear duty to do so. This file includes a performance

14   appraisal of Plaintiff that has not been otherwise produced. Now, that document is gone.

15            Brand falsely asserts that Broschinsky’s supervisory file would be helpful to Brand, but

16   does not include a transcript of his actual testimony. We do so below. First, Brand claims that

17   Broschinsky testified “his file contained documentation of Plaintiff’s troublesome performance

18   and communication issues…” (Opposition at p. 5.) In reality, Broschinsky testified that Plaintiff

19   was a good employee who worked hard.1 He went on to testify that he gave her a good

20   performance review “to keep her motivated…” (Broschinsky Dep. 50:21-23.) That positive

21   review was kept in his file; therefore, the review was never produced by Brand.

22            Although Brand’s position is somewhat unclear, it may be alleging that the file contained

23   documentation of Broschinksy’s “strained communication” he had with Plaintiff one time.

24   When asked if he took notes about that occasion and put in her file, he answered: “I don’t recall

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          When asked if her performance warranted a pay increase, Broschinksy answered: “I can’t say I recall a reason
26   why it wouldn’t, but there’s no significant event in my mind that would say one way or the other, other than I know
     she was a hard worker.” (Broschinsky Dep. 45:4-9.) Excerpts of Broschinsky’s deposition are attached as Supp.
     Higgins Ex. 12.
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1    specifically. But I’m the type of person that keeps pretty good notes. So it could be, yeah.”

2    (Broschinsky Dep. 90:13-23). If Broschinsky, an experienced HR manager who “keeps pretty

3    good notes,” did not take notes, that suggests that any “performance issues” were minor. But

4    Brand failed to preserve the file, so we cannot show that.

5           Case law from this District establishes that destroyed evidence is presumed to be relevant

6    and goes to the merits of the case. (Case law from this District is presented in Plaintiff’s motion,

7    Dkt. 30, at p. 8.) That presumption has not been overcome by Brand’s mischaracterization of

8    Broschinsky’s testimony.
9           Next, Brand argues that it made a good faith effort to locate the file, but fails to say when.

10   The first notice to preserve evidence was sent beginning in January 2021. For the next 10

11   months, Broschinsky worked at Brand and had the supervisory file (he returned it only when he

12   left in “early October 2021”). (Broschinsky Dep. 95:24-25.) By that time, this lawsuit had been

13   filed, served, answered by Brand, and initial disclosures had been exchanged. (See Dkt. 12 (Joint

14   Status Report).) At any time during those 10 months, Brand could have and should have

15   obtained the file from him. That blatant failure to preserve a supervisory file is spoliation.

16          Plaintiff wants to briefly address the “red herring” argument by Brand that discovery has

17   been outsized in this case. Plaintiff started this case focusing on a layoff decision that Brand

18   defended based on a claim that Plaintiff did not want to do recruiting and had been offered a job

19   as a recruiter but had turned it down. (Supp. Higgins Ex. 10 (Rog. Answer No. 6.) Therefore,

20   she was selected for layoff. This did not appear to be a performance-related termination. At

21   Riapos’s deposition in June 2022, she announced for the first time that Plaintiff’s allegedly poor

22   performance was the reason for the layoff. Brand had not communicated that to Plaintiff, nor

23   created any documentation of the alleged performance issues. This surprising development

24   caused a massive broadening of discovery because Plaintiff was forced to ask for more

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1    documents and find (or depose) every person identified by Brand as a witness to the performance

2    issues. 2 (Supp. Higgins Decl. ¶ 12.)

3             In any event, none of Brand’s complaints about the scope of discovery excuse its

4    spoliation. Brand was in the best position to determine what documents related to its defenses

5    and to preserve those documents.

6    B.       Microsoft Teams Communications Between Managers.

7             Brand has completely failed to address this issue and, therefore, concedes spoliation. In

8    the opening brief, Plaintiff made clear: “Brand’s managers consistently testified that they used
9    text messages and Microsoft Teams to message each other about work issues. Despite this,

10   Brand… has produced only one Microsoft Teams message about Plaintiff.” (Motion at p. 1)

11   (emphasis added). Rather than rebutting this assertion, Brand actually helps prove it by

12   submitting a sworn statement by Riapos that she regularly used Teams: “I used email, the Teams

13   messaging system, and I spoke with people either in person or on the phone.” (Riapos Decl. ¶ 5)

14   (emphasis added). At her deposition, Riapos said that she and Roman (the other decisionmaker

15   on Plaintiff’s layoff) used Microsoft Teams four to five times per week to communicate about

16   work issues. (Riapos Dep. 105:8-21.)3

17            At oral argument, Brand will likely argue (as it did on the other issues) that the Court

18   should give Brand the benefit of the doubt and presume that the missing data was either

19   irrelevant (or helpful) to Brand. This would require the Court to conclude that Riapos (and other

20   managers) did not use Teams to discuss topics such as Plaintiff’s performance or why Plaintiff

21   was selected for layoff. That conclusion is contrary to the other evidence in this case. Riapos

22   says that she mainly communicates via emails and Teams. In her emails, she discussed Plaintiff

23   numerous times. For instance, she wrote an email to Meg Newman that she had long-term plans

24   for Plaintiff and cited specific duties, making no mention of performance issues. (Supp. Higgins

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26        2
           See also Supp. Higgins Ex. 11 (2d Supp. Answer to Rog. No. 8) where Brand identifies numerous witnesses
     and issues of fact.
         3
           Higgins Ex. 5 (Dkt. 31-1).
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1    Ex. 13.) Notably, that email was sent after the alleged performance issues that Riapos now

2    claims caused her to layoff Plaintiff, and only 3 months before the layoff. (Id.)

3    C.       The Text Messages.

4             After many emails and discussions about the failure to produce any text messages, Brand

5    now contends—for the very first time—that Riapos testified “mistakenly” at her deposition.4

6    Plaintiff’s counsel has been asking about these missing text messages beginning on June 3,

7    2022—immediately after Riapos’s deposition. In addition to discussions, we emailed defense

8    counsel about the missing text messages on June 3, June 10, June 21, June 30, and August 3
9    (when this item was added to a FRCP 37 Conference agenda).5 (Supp. Higgins Decl. ¶ 16.) On

10   August 23, Brand reiterated the only explanation ever made: “We have followed up regarding

11   the messages and do not have any additional messages to produce.” (Higgins Ex. 7.)

12            In the depositions, Plaintiff asked every witness about text messages and preservation.

13   (Higgins Decl. ¶ 7.) Even during the October 3 discovery conference, defense counsel did not

14   suggest that Riapos “mistakenly” testified at her deposition. (Supp. Higgins Decl. ¶ 16.)

15            Riapos’s new story raises more questions, such as exactly when she searched her phone

16   “before her deposition.” Her deposition was 18 months after Brand was first put on notice to

17   preserve documents. Was it only a few days before the deposition? If so, why had she forgotten

18   that fact during her actual deposition? Did counsel tell her to search, and if so, when? In

19   discovery conferences, defense counsel has refused to disclose when Riapos searched, claiming

20   privilege. (Supp. Higgins Decl. ¶ 17.) But when she searched is not privileged. As one court

21   explained: “Plaintiffs were entitled to know what kinds and categories of ESI [the defendant's]

22   employees were instructed to preserve and collect, and what specific actions they were instructed

23   to undertake to that end.” Cohen v. Trump, 2015 WL 3617124, at *7 (S.D. Cal. June 9, 2015)

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           Notably, Riapos reserved signature on her deposition yet made no corrections. (Supp. Higgins Ex. 14.)
          5
           On June 10, defense counsel said that they would follow up to ensure no responsive messages existed.
25   (Higgins Decl. ¶ 6.) For almost two weeks, Plaintiff did not hear back, so counsel followed up on June 21: “[W]e
     understood that you were rechecking the text messages and Teams messages to determine whether messages were
26   preserved and whether there was anything responsive. When will that be completed?” (Higgins Ex. 7.) Brand
     replied that no responsive messages existed, but did not correct Riapos’s allegedly false testimony about not
     searching her phone. (Id.)
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1    (citations and quotations omitted); see also Cannata v. Wyndham Worldwide Corp., 2011 WL

2    3495987, at *2 (D. Nev. Aug. 10, 2011).

3             Brand’s refusal to disclose the timing of its document preservation efforts is troubling. In

4    any event, the known facts already show its “grossly untimely” preservation. City of Colton v.

5    Am. Promotional Events, Inc., 2011 WL 13223880, at *4 (C.D. Cal. Nov. 22, 2011) (party was

6    “grossly untimely” because it failed to preserve evidence before the lawsuit was filed and for 3

7    months after the lawsuit was filed).

8             Michelle Roman’s testimony provides a clue about when Brand first searched for text
9    messages. She testified in September 2022, that a “couple of months ago” she searched her

10   phone. (Roman Dep. 10:17.)6 (Oddly, she also says that she found a few text messages and

11   turned them over to counsel, but those were not produced.). Also, Broschinsky never searched

12   his phone for text messages concerning Plaintiff, 7 but we know those exist because Plaintiff

13   produced 37 pages of texts between the two of them. Brand claims that Broschinsky’s texts with

14   Plaintiff are not relevant, but they actually reveal much about her work, e.g., saving Brand

15   millions in temporary labor costs. (See, e.g., Supp. Higgins Ex. 15, pp. 26, 32.) Their text

16   exchanges also refer to her work that was alleged “untimely.” (Id. at p. 34.)

17   D.       Sanctions are appropriate.

18            Brand seeks to avoid any sanction whatsoever, arguing that only intentional spoliation is

19   subject to sanctions. That is not accurate. District courts have “inherent authority” to “sanction

20   a party who has despoiled evidence”. Leon v. IDX Systems Corp., 464 F.3d 951, 958 (9th Cir.

21   2006). See also Bolding v. Banner Bank, 2020 WL 2614733 (W.D. Wash. May 22, 2020) (a

22   motion for sanctions resulting from failure to preserve and produce ESI brought under FRCP

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          Higgins Ex. 6 (Dkt. 31-1).
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          Broschinsky Dep. 12:25-13:6:
             Q.       …Did you ever search your [company-issued] phone for text messages with Nannette
25           Basa or about Nannette Basa?
             A.       No, I did not.
26           Q.       Did you ever give your phone over to a third party to look at for information about
             Nannette or her case?
             A.       Nope.
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1    37(e)(2), but analyzed by Judge Lasnik under inherent authority).8 Decisions by Judges Robart

2    and Coughenour are cited on pp. 7 and 9 of the main Motion and reinforce these principles. As

3    Judge Coughenour explained: “A litigant has a culpable state of mind for spoliation purposes if

4    the evidence was destroyed knowingly, even without intent to breach a duty to preserve it, or

5    negligently.” Musse v. King Cnty., 2021 WL 4709875, at *3 (W.D. Wash. Oct. 8, 2021). Fault

6    is less than intentional or in bad faith. Knickerbocker, 298 F.R.D. at 678 (Robart, J.).

7             Plaintiff cannot know for certain the content of the missing communications and,

8    therefore, the law does not require her to prove this unknowable evidence. See above and
9    Montoya v. Orange Cnty Sheriff’s Dep’t, 2013 WL 12347292, at *9 (C.D. Cal. Oct. 15, 2013);

10   accord Leon, 464 F.3d at 959. The party seeking sanctions “must not be held to too strict a

11   standard of proof regarding the likely contents of the destroyed or unavailable evidence because

12   doing so would allow parties who have destroyed evidence to profit from that destruction.”

13   Ottoson v. SMBC Leasing & Fin., Inc., 268 F. Supp. 3d 570, 580 (S.D.N.Y. 2017) (cleaned up).

14            We believe that the text and Teams messages would have been very revealing. Brand did

15   not create any formal documentation (or even discuss in email) why Wilson and Norris were

16   retained instead of Plaintiff. (See, e.g., Riapos Dep. 99:1-13; Higgins Ex. 3.) The real reasons

17   may have been disclosed in more informal communications, such as a text or Teams messages.

18            Finally, Plaintiff seeks a modest remedy – an instruction that a jury “may” infer that the

19   missing evidence would have supported the Plaintiff. Brand remains free to argue otherwise.

20                                               II.      CONCLUSION

21            For the above reasons, Plaintiff respectfully requests that the Court find that spoliation

22   occurred and issue an appropriate order to rectify the issue, including an adverse inference jury

23   instruction, an order preventing Brand from using Plaintiff’s text messages and an award of

24   attorneys’ fees and costs in pursuing this issue.

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            While the parties did not enter into an ESI agreement, the Model Agreement explicitly states that any
     obligations created by the Agreement supplement the “common law” duties to preserve evidence.
     https://www.wawd.uscourts.gov/sites/wawd/files/ModelESIAgreement.pdf at p. 7.
                                                                               Law Offices of Alex J. Higgins
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2    DATED this 7th day of October, 2022.

3                                               LAW OFFICES OF ALEX J. HIGGINS
4
                                                s/Alex J. Higgins
5                                               Alex J. Higgins, WSBA No. 20868

6

7                                               BEAN LAW GROUP
8                                               s/Cody Fenton-Robertson
                                                Cody Fenton-Robertson, WSBA No. 47879
9                                               2200 6th Ave, Suite 500
                                                Seattle, WA 98121
10
                                                (206) 522-0618
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